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 6
     Attorneys for Defendants
 7   SYNOPSYS, INC., AART DE GEUS,
     STEVEN K. SHEVICK, and
 8   VICKI ANDREWS

 9                                UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN FRANCISCO DIVISION

12
     THE WU GROUP, et al.,                            )   CASE NO.: C-04-3580-MJJ
13                                                    )
                    Plaintiff,                        )
14                                                    )   STIPULATION AND [PROPOSED]
            v.                                        )   ORDER FOR DISMISSAL WITH
15                                                    )   PREJUDICE AND ENTRY OF
     SYNOPSYS, INC., AART DE GEUS, STEVEN             )   FINAL JUDGMENT
16   K. SHEVICK, and RICHARD T. ROWLEY,               )
                                                      )
17                  Defendants.                       )
                                                      )
18                                                    )
                                                      )
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     STIPULATION AND [PROPOSED] ORDER FOR
     DISMISSAL WITH PREJUDICE AND ENTRY OF JUDGMENT
     CASE NO.: C-04-3580-MJJ
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 1          WHEREAS, on January 24, 2005, plaintiffs Yeushyr Wu, Robert Wiederhold, Hosein

 2   Naaseh-Sahry, and Thomas Ratcliffe, individually and on behalf of the Sara Eastwood Family

 3   Trust (collectively the “Lead Plaintiff”), filed their Consolidated Amended Class Action

 4   Complaint (the “Consolidated Complaint”) in the above-titled action; and

 5          WHEREAS, on March 25, 2005, defendants Synopsys, Inc., Aart J. de Geus, Steven K.

 6   Shevick, and Vicki L. Andrews (collectively “Defendants”) filed a motion to dismiss the

 7   Consolidated Complaint and also filed a motion for sanctions under Rule 11 of the Federal Rules

 8   of Civil Procedure; and

 9          WHEREAS, on August 10, 2005, the Court entered an order granting Defendants’

10   motion to dismiss the Consolidated Complaint without prejudice and denying Defendants’

11   motion for sanctions; and

12          WHEREAS, Lead Plaintiff and Defendants have agreed to dismissal with prejudice in

13   this action provided that each party bear his, her or its own costs and fees incurred in this action.

14          NOW, THEREFORE, subject to the Court’s approval, Plaintiff and Defendants, by and

15   through their respective counsel of record, hereby agree and stipulate to the following:

16          1.         The Consolidated Complaint, and all claims contained therein, shall be dismissed

17   with prejudice.

18          2.         Each party shall bear his, her or its own fees and costs.

19          3.         Final Judgment shall be entered in the form attached hereto as Exhibit A.

20          IT IS SO STIPULATED.

21   Dated: August 31, 2005                                WILSON SONSINI GOODRICH & ROSATI
                                                           Professional Corporation
22

23                                                         By:       /s/ Leo P. Cunningham
                                                                      Leo P. Cunningham
24                                                         650 Page Mill Road
                                                           Palo Alto, California 94304
25                                                         Tel (650) 493-9300
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26
                                                           Counsel for Defendants Synopsys, Inc., Aart de
27                                                         Geus, Steven K. Shevick, and Vicki L.
                                                           Andrews
28   STIPULATION AND [PROPOSED] ORDER FOR
     DISMISSAL WITH PREJUDICE AND ENTRY OF JUDGMENT
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 2

 3   Dated: August 31, 2005                                  SCHIFFRIN & BARROWAY LLP

 4
                                                         By:       /s/ Michael K. Yarnoff
 5                                                                  Michael K. Yarnoff
                                                             280 King of Prussia Road
 6                                                           Radnor, PA 19087
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 8                                                       Lead Counsel for Lead Plaintiff and the
                                                         Proposed Class
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                                                             Facsimile: (415) 477-6710
12                                                           Robert S. Green

13                                                       Liaison Counsel for Lead Plaintiff and the
                                                         Proposed Class
14
                                            *      *         *     *
15
                              ORDER OF DISMISSAL WITH PREJUDICE
16
              Based upon the parties’ stipulation for dismissal with prejudice and entry of final
17
     judgment, and good cause therefore appearing, it is hereby ORDERED that:
18
              1.     The Consolidated Complaint, and all claims contained therein, are dismissed with
19
     prejudice.
20
              2.     Each party shall bear his, her or its own fees and costs.
21
              3.     Final Judgment shall be entered in the form attached hereto as Exhibit A.
22
              9/6/2005
23   Dated:
                                                    The Honorable Martin J. Jenkins
24                                                  United States District Judge

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28   STIPULATION AND [PROPOSED] ORDER FOR
     DISMISSAL WITH PREJUDICE AND ENTRY OF JUDGMENT
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 1                    ATTESTATION PURSUANT TO GENERAL ORDER 45
 2          I, Mark T. Oakes, am the ECF User whose identification and password are being used to

 3   file this document. In compliance with General Order 45.X.B, I hereby attest that concurrence in

 4   the filing of this document has been obtained from each of the other signatories.

 5   Dated: August 31, 2005                             WILSON SONSINI GOODRICH & ROSATI

 6                                                      Professional Corporation

 7

 8                                                      By:      /s/ Mark T. Oakes
                                                                  Mark T. Oakes
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28   STIPULATION AND [PROPOSED] ORDER FOR
     DISMISSAL WITH PREJUDICE AND ENTRY OF JUDGMENT
     CASE NO.: C-04-3580-MJJ
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